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                                                                                January 2023
                                   Curriculum Vitae

                                   Robert J. Spitzer

                     Distinguished Service Professor, Emeritus
                                 SUNY Cortland
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             Alexandria, VA 23188
             (607) 423-1781
             Robert.spitzer@cortland.edu; robertjspitzer53@gmail.com
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Education:   A.B. (Political Science), summa cum laude, SUNY Fredonia, 1975.
             M.A. Cornell University, 1978.
             Ph.D. Cornell University, 1980.

Written Testimony:

      I have been invited to submit written testimony and serve as an expert witness in the
      following cases: Hanson v. District of Columbia, Civil Action No. 1:22-cv-02256-RC,
      United States District Court for the District of Columbia, 2022; Brumback v. Ferguson,
      No. 22-cv-3093 (E.D. Wash.); Sullivan v. Ferguson; Miller v. Bonta, No. No. 3:19-cv-
      1537 (S.D. Cal.); Duncan v. Bonta, No. 17-cv-1017 (S.D. Cal.); Fouts v. Bonta; Rupp v.
      Bonta; Gates et al. v. Polis; Oakland Tactical Supply LLC v. Howell Township, Case
      No.: 18-cv-13443; State v. Misch, No. 173-2-19 Bncr (Bennington County Criminal
      Case) in Vermont Superior Court; National Association for Gun Rights, Inc. v. City of
      Highland Park, 22-cv-4774 (N.D. Ill.); National Association for Gun Rights & Capen v.
      Healey, U.S. District Court No. 22-cv-11431-FDS; Abbott et al. v. Connor, Civil Action
      No. 20-00360 (RT), In The United States District Court for The District Of Hawaii;
      National Association for Gun Rights v. Shikada, U.S. District Court District of Hawaii,
      CIVIL DOCKET FOR CASE #: 1:22-cv-00404-DKW-RT; Santucci v. Honolulu, U.S.
      District Court District of Hawaii, CIVIL DOCKET FOR CASE #: 1:22-cv-00142-DKW-
      KJM; Yukutake v. Shikada, U.S. District Court District of Hawaii, CIVIL DOCKET
      FOR CASE #: 1:22-cv-00323-JAO-KJM; Nat'l Ass'n for Gun Rights v. Lopez (Civil No.
      1:22-CV-00404-DKW-RT); Abbot v. Lopez (Civil No. 20-00360 RT); Santucci v. City &
      County of Honolulu (Civil No. 1:22-cv-00142-DKW-KJM); Yukutake v. Lopez (Civil
      No. 1:22-cv-00323-JAO-KJM); Baird v. Bonta (E.D. Cal.); Nichols v. Newsom (C.D.
      Cal.); Delaware State Sportsmen’s Association, Inc. v. Delaware Department Of Safety
      And Homeland Security (C.A. No. 1:22-cv-00951-RGA); Mark Fitz, Grayguns, Inc. v.
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       Ellen Rosenblum, Attorney General of the State of Oregon.


Positions Held:

       Adjunct Professor, College of William and Mary School of Law, Spring 2023.
       Department Chair, SUNY Cortland, 2004-2005, 2008-2020.
       Distinguished Service Professor, SUNY Cortland, 1997-2021.
       Visiting Professor, Cornell University, Spring, 2009, Spring 1993; Summers 1980, 1988-
               1990, 1992-2017.
       Professor, SUNY Cortland, 1989 to 1997.
       Continuing Appointment, SUNY Cortland, 1986.
       Associate Professor, SUNY Cortland, 1984 to 1989.
       Department Chair, SUNY Cortland, 1983 to 1989.
       Visiting Professor, SUNY College of Technology, Utica-Rome, Graduate Division, 1985,
               1986, 1988.
       Copy Editor, Administrative Science Quarterly, 1982 to 1983.
       Adjunct Professor, Tompkins-Cortland Community College, 1982-83.
       Assistant Professor, SUNY Cortland, 1979 to 1984.
       Instructor, Cornell University, 1979.
       Instructor, Eisenhower College, 1978-1979.
       Research Assistant, Theodore J. Lowi and Benjamin Ginsberg, 1976-1978.
       Reporter (Stringer), Buffalo Courier-Express; Dunkirk Evening Observer, 1974-75.


Honors:

       Fellow, the Royal Society for Arts, Manufactures and Commerce (RSA), London,
       England, 2020.
       Founding member, Regional Gun Violence Research Consortium, coordinated with the
       Rockefeller Institute of Government. Consortium of gun policy experts from eight states
       to advance research on gun policy, 2018-present.
       Member, SUNY Research Council, an advisory council to the SUNY Board of Trustees,
       SUNY System Administration, campus leadership teams, and the leadership team of the
       Research Foundation (RF) for SUNY, 2018-2021.
       Member, Scholars Strategy Network, 2015-present. Created to improve public policy and
       strengthen democracy by connecting scholars and their research to policymakers, citizens
       associations, and the media.
       Winner, Pi Sigma Alpha (the national political science honors society) Chapter Advisor
       of the Year Award for 2013.
       Winner, Outstanding Achievement in Research Award, SUNY Cortland, 2010.
       Winner, Outstanding Achievement in Research Award, SUNY Cortland, 2005.
       Winner, State University of New York’s Chancellor’s Excellence in Scholarship and
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               Creative Activities Award, 2003.
       SUNY Cortland Nominee, National Scholar Competition of the Honor Society of Phi
               Kappa Phi, 1994-95.
       Winner, New York State/United University Professions Excellence Award, 1991, for
               "outstanding professional performance and superior service."
       Member, New York State Commission on the Bicentennial of the U.S. Constitution,
               1986-1990.
       Member, New York State Ratification Celebration Committee for U.S. Constitution
               Bicentennial, 1987-88.
       Member, National Bicentennial Competition on the Constitution and the Bill of Rights,
               1987-1991.
       Who's Who in the World, 1996.
       Dictionary of International Biography, 1995.
       Who's Who in the East, 1995-96; 1997-98
       Ex officio member, Cortland County Bicentennial Committee, 1987-89.
       Chair, SUNY Cortland Bicentennial Committee, 1987-89.
       Phi Eta Sigma, SUNY Cortland, 1994.
       Phi Kappa Phi, SUNY Cortland, 1990.
       Men of Achievement (1986)
       Contemporary Authors, vol. 112 (1985) and subsequent updates.
       International Authors and Writers Who's Who, 1985-present.
       International Who's Who in Education, Winter 1985-86.
       Herbert H. Lehman Graduate Fellowship, 1975-79.
       Who's Who Among Students in American Universities and Colleges, 1974-75.
       Phi Beta Kappa Club, SUNY College at Fredonia, 1975.
       Phi Alpha Theta (History), SUNY College at Fredonia, 1974.
       Phi Mu Alpha Sinfonia, (Music), SUNY College at Fredonia, 1973.


Research Fellowships and Projects:

       Individual Development Awards, SUNY Cortland, 2001, 2003, 2005, 2006, 2007, 2008,
       2009, 2014, 2017, 2020.
       Title “F” Leave with pay, Spring 1994.
       Professional Development and Quality of Working Life Award, 1989, 1993, 1998, 1999.
       National Endowment for the Humanities (NEH) Research Grant for Study of the
       Constitution, 1986. Project Proposal: “The Presidential Veto: Constitutional Antecedents
       and Modern Applications.”
       SUNY Cortland Faculty Research Program Grant, “The Presidential Veto, 1986.
       Consultant for Reporting Research Corporation, “Quality of Earnings Report,” Thornton
       L. O’Glove, author; research on presidential veto use, 1984-1987.
       SUNY University Awards Program Research Fellowship, “The Right to Life Party and
       New York State Politics, 1983.
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       SUNY Cortland Faculty Research Program Fellowship, “New York State Parties and
       Politics,” 1980.


Publications and Papers:

       Books:

       The Presidency and Public Policy: The Four Arenas of Presidential Power (University,
       AL: The University of Alabama Press, 1983). A study of the President's relations with
       Congress in the making of domestic policy. Revised version of doctoral dissertation.

       The Right to Life Movement and Third Party Politics (Westport, CT: Greenwood Press,
       1987). A study of the New York multi-party system, single-issue third parties, and the
       state-based Right to Life Party.

       The Presidential Veto: Touchstone of the American Presidency (Albany, NY: SUNY
       Press, 1988), with a foreword by Louis Fisher. A study of the constitutional antecedents
       and modern applications of the veto power. Published as part of SUNY Press Series on
       Leadership, edited by Barbara Kellerman.

       Editor, The Bicentennial of the U.S. Constitution: Commemoration and Renewal
       (Cortland, NY: SUNY Cortland, 1990). A compendium of articles based on presentations
       given at SUNY Cortland pertaining to the Constitution's Bicentennial. Contributors
       include Senator Daniel Patrick Moynihan, Theodore J. Lowi, Judith A. Best, and Robert
       Spitzer.

       President and Congress: Executive Hegemony at the Crossroads of American
       Government (New York: McGraw-Hill; and Temple University Press, 1993). Published
       simultaneously by co-publishing agreement in paper by McGraw-Hill, and hardcover by
       Temple. An analytic survey and critique of presidential-congressional relations. Received
       Honorable Mention for the Richard Neustadt Award for Best Book on the Presidency for
       1993.

       Editor, Media and Public Policy (New York: Praeger, 1993). Published in Praeger's
       Political Communications Series, edited by Robert E. Denton, Jr. A collection of original
       essays dealing with various aspects of media's impact on public policy. Contributors
       include Doris Graber, Julio Borquez, Wenmouth Williams, Marion Just, Ann Crigler,
       Michael Hawthorne, Dean Alger, Jerry Medler, Michael Medler, Montague Kern, Robert
       Sahr, Holli Semetko, Edie Goldenberg, Patrick O'Heffernan, and Robert Spitzer.

       The Politics of Gun Control (New York: Chatham House, 1995; 2nd edition, 1998; 3rd
       edition, CQ Press, 2004; 4th ed. 2008; 5th ed., Paradigm/Routledge Publishers 2012; 6th
                                                 4




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ed., Routledge, 2015, 7th ed., 2018; 8th ed. 2021). A comprehensive political and policy
analysis of the gun issue that applies policy theory to the key elements of the gun debate,
including analysis of the Second Amendment, cultural-historical factors, interest group
behavior, criminological consequences, legislative and executive politics.

Editor, Politics and Constitutionalism: The Louis Fisher Connection, (Albany, NY:
SUNY Press, 2000). A collection of original essays inspired by the works of Louis
Fisher. Contributors include Neal Devins, Nancy Kassop, Dean Alfange, David Adler,
Loch Johnson, Michael Glennon, Louis Fisher, and Robert Spitzer. Published as part of
the SUNY Press Book Series on American Constitutionalism. Nominated by SUNY Press
for the 2001 Silver Gavel Award of the American Bar Association.

The Right to Bear Arms: Rights and Liberties Under the Law (Santa Barbara, CA: ABC-
CLIO, 2001). An extensive analysis of the Second Amendment “right to bear arms” from
legal, historical, and political perspectives. Published as part of the “America’s
Freedoms” Series edited by Donald Grier Stephenson.

Essentials of American Politics, co-authored with Benjamin Ginsberg, Johns Hopkins;
Theodore Lowi, Cornell; Margaret Weir, Berkeley. (W.W. Norton, 2002; 2nd edition,
2006). A synthetic, analytic look at American government and politics.

The Presidency and the Constitution: Cases and Controversies, co-authored with Michael
A. Genovese (NY: Palgrave/Macmillan, 2005). A combination of analysis and cases
examining the courts’ view of presidential power.

Saving the Constitution from Lawyers: How Legal Training and Law Reviews Distort
Constitutional Meaning (New York: Cambridge University Press, 2008). A sweeping
indictment of the legal community when it enters into the realm of constitutional
interpretation.

We the People: Essentials Edition, co-authored with Benjamin Ginsberg, Johns Hopkins;
Theodore Lowi, Cornell; Margaret Weir, Berkeley. (W.W. Norton, 7th ed. 2009; 8th ed.
2011; 9th ed., 2013; 10th ed. 2015; 11th ed. 2017; 12th ed. 2019; 13th ed. 2021).

Gun Control: A Documentary and Reference Guide (Westport, CT: Greenwood
Publishing Group, 2009). A combination of analysis, commentary, and original historical
and contemporary documents pertaining to the gun issue published in Greenwood’s
Documentary and Reference Series.

The Gun Debate: An Encyclopedia of Gun Rights and Gun Control, co-authored with
Glenn Utter (Grey House Publishers, 2011; third edition 2016). An A-Z compendium of
gun issues.

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Guns across America: Reconciling Gun Rules and Rights (New York: Oxford University
Press, 2015); revised paperback edition published 2017. Argues that our understanding of
the gun issue as it has evolved in the U.S. is upside down, looking at gun law history, the
Second Amendment, stand your ground laws, and New York State gun laws.

The Gun Dilemma: How History Is Against Expanded Gun Rights (New York: Oxford
University Press, 2023). Argues that the courts are ushering in a new era of expanded gun
rights, despite the fact that such a movement is contrary to our gun history by examining
assault weapons, ammunition magazines, silencers, gun brandishing, and the Second
Amendment sanctuary movement.

Book Series Editor, Series on American Constitutionalism, SUNY Press, 1996-present.
Books include:
       Daniel Hoffman, Our Elusive Constitution, (1997)
       Martin Sheffer, God and Caesar: Belief, Worship, and Proselytizing Under the
       First Amendment, (1999)
       Daniel Levin, Representing Popular Sovereignty: The Constitution in American
       Political Culture, (1999)
       Robert Spitzer, ed., Politics and Constitutionalism, (2000)
       Laura Langer, Judicial Review in State Supreme Courts (2002)
       Ian Brodie, Friends of the Court (2002)
       Samuel Leiter and William Leiter, Affirmative Action in Antidiscrimination
               Law and Policy (2002)
       Artemus Ward, Deciding to Leave: The Politics of Retirement from the United
       States Supreme Court (2003)
       James T. McHugh, Ex Uno Plura: State Constitutions and Their Political Cultures
       (2003)
       Stephen Newman, ed., Constitutional Politics in Canada and the United States
       (2004).
       Stephen Kershnar, Justice for the Past (2004).
       Timothy R. Johnson, Oral Arguments and Decision Making on the U.S. Supreme
       Court (2004).
       Christopher P. Banks, David B. Cohen, and John C. Green, eds., The Final
       Arbiter: The Consequences of Bush v. Gore for Law and Politics (2005)
       Kenneth D. Ward and Cecilia R. Castillo, eds., The Judiciary and American
       Democracy: Alexander Bickel, the Countermajoritarian Difficulty, and
       Contemporary Constitutional Theory (2005).
       G. Alan Tarr and Robert F. Williams, eds., State Constitutions for the Twenty-
       first Century: The Politics of State Constitutional Reform (2006).
       Frank P. Grad and Robert F. Williams, State Constitutions for the Twenty-first
       Century: Drafting State Constitutions, Revisions, and Amendments (2006).
       G. Alan Tarr and Robert F. Williams, eds., State Constitutions for the Twenty-
       first Century: The Agenda of State Constitutional Reform, 3 vols. (2006).
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       Cary Federman, The Body and the State: Habeas Corpus and American
       Jurisprudence (2006).
       Christopher S. Kelley, ed., Executing the Constitution: Putting the President Back
       into the Constitution (2006).
       David Fagelson, Justice as Integrity: Tolerance and the Moral Momentum of Law
       (2006).
       Christopher Shortell, Rights, Remedies, and the Impact of State Sovereign
       Immunity (2008).
       Robert Blomquist, The Quotable Judge Posner (2010).
       Kirk A. Randazzo, Defenders of Liberty or Champions of Security? (2010).
       Pamela Corley, Concurring Opinion Writing on the U.S. Supreme Court (2010).
       Samuel Leiter and William Leiter, Affirmative Action in Antidiscrimination Law
       and Policy (2nd ed. 2010).
       Julia R. Azari, et al., eds., The Presidential Leadership Dilemma (2013).
       Stephen A. Simon, Universal Rights and the Constitution (2014).
       Kirk A. Randazzo and Richard W. Waterman, Checking the Courts (2014).
       Anthony Maniscalco, Public Spaces, Marketplaces, and the Constitution (2015).
       Goirgi Areshidze et al., eds., Constitutionalism, Executive Power, and the Spirit
       of Moderation (2016).
       Peter J. Galie, et al., eds., New York’s Broken Constitution (2016).
       Robert J. Hume, Ethics and Accountability on the U.S. Supreme Court (2017).
       Michael A. Dichio, The U.S. Supreme Court and the Centralization of Federal
       Authority (2018).
       Clyde H. Ray, John Marshall’s Constitutionalism (2019).
       Daniel P. Franklin, et al., The Politics of Presidential Impeachment (2020).
       Robert M. Howard, et al., Power, Constraint, and Policy Change: Courts and
       Education Finance Reform (2021).
       Mark C. Dillon, The First Chief Justice (2022).

Book Series Editor, Presidential Briefing Books, Routledge, 2015-present.
      Mary Stuckey, Political Rhetoric (2015)
      Michael A. Genovese, Presidential Leadership in an Age of Change (2015)
      Christopher Fettweis, Making Foreign Policy Decisions (2016)
      Nancy Maveety, Picking Judges (2016)
      Richard S. Conley, Presidential Relations with Congress (2017)
      Andrew L. Stigler, Governing the Military (2019)
      Graham G. Dodds, The Unitary Presidency (2020)


Member, Board of Editors for the Encyclopedia of Guns in American Society, 2 vols.
(Santa Barbara, CA: ABC-CLIO, 2003; second ed. 2011). Winner of the Booklist
Editors’ Choice Award for 2003, American Library Association.

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Member, Board of Editors, Issues: Understanding Controversy and Society, ABC-CLIO,
2011-2016.


Book Chapters:

"Third Parties in New York," in Governing New York State (formerly New York State
Today), ed. by Robert Pecorella and Jeffrey Stonecash (Albany, N.Y.: SUNY Press,
1984, 1989, 1994, 2001, 2006). Chapter revised for second, third, fourth, and fifth
editions.

"Gun Control: Constitutional Mandate or Myth," in Social Regulatory Policy: Recent
Moral Controversies in American Politics, ed. by Raymond Tatalovich and Byron
Daynes (Boulder, CO: Westview Press, 1988), 111-141.

"The President's Veto Power," in Inventing the American Presidency: Early Decisions
and Critical Precedents, ed. by Thomas Cronin (Lawrence, KA: University Press of
Kansas, 1989), 154-179.

"President and Congress," in The CQ Guide to the Presidency, ed. by Michael Nelson
(Washington, D.C.: Congressional Quarterly, Inc., 1989; revised for 2nd ed., 1996 and 3rd
ed. 2002; 4th ed. 2007; 5th ed. 2012).

Nineteen entries in Encyclopedia of American Political Parties and Elections, ed. by L.
Sandy Maisel (New York: Garland Pub., 1991): American Labor Party, Benjamin Bubar,
closed primary, Conservative Party, cross-endorsement rule, Free Soil Party, Greenback
Party, Liberal Party, Liberty Party, John V. Lindsay, Allard K. Lowenstein, open
primary, Right to Life Committee, Right to Life Party, Prohibition Party, Alex Rose, split
ticket voting, telethons, Mary Jane Tobin.

Author of "Thought Boxes" for Theodore J. Lowi and Benjamin Ginsberg, American
Government: Freedom and Power (NY: W.W. Norton, 1990, 1992, 1994, 1996, 1998); 50
for 1st ed.; 30 additional for 2nd ed., 45 additional for 3rd ed.; 29 for 4th ed., 26 for 5th.

"Executive Vetoes," in Encyclopedia of the American Legislative System, ed. by Joel
Silbey (NY: Charles Scribner's Sons, 1993).

"The Conflict Between Congress and the President Over War," in The Presidency and the
Persian Gulf War, ed. by Marcia Whicker, Raymond Moore, and James Pfiffner (New
York: Praeger, 1993).

"Is the Separation of Powers Obsolete?" in The Presidency Reconsidered, ed. by Richard
W. Waterman (Itasca, IL: F.E. Peacock, 1993); also in Understanding the Presidency, ed.
                                        8




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by James Pfiffner and Roger Davidson (NY: Longman, 1997; 2nd ed. 2000; 3rd ed. 2002;
4th ed. 2006).

Seven entries in the Encyclopedia of the American Presidency, ed. by Leonard W. Levy
and Louis Fisher (NY: Simon and Schuster, 1994), including “Council on Environmental
Quality,” “Office of Intergovernmental Relations,” “Presentation Clause,” “Signing
Statements,” “Item Veto,” “Pocket Veto,” “Regular Veto”.

Two entries in the Encyclopedia of the United States Congress, ed. by Donald C. Bacon,
Roger H. Davidson, and Morton Keller (NY: Simon and Schuster, 1994), including
“Separation of Powers” and “Presidential Veto”.

"The President, Congress, and the Fulcrum of Foreign Policy," in The Constitution and
the Conduct of American Foreign Policy, ed. by David Gray Adler, with an introduction
by Arthur Schlesinger, Jr. (Lawrence, KS: University Press of Kansas, 1996), 85-113.

"Resources Development in the EOP," in The Executive Office of the President, ed. by
Harold Relyea (Westport, CT: Greenwood Press, 1997).

"Council on Environmental Quality," in the Oxford Historical Guide to American
Government (NY: Oxford University Press, 1997).

"From Presidential Shield to 'Go Ahead, Make My Day': The Presidential Veto and the
Constitutional Balance of Power," in Liberty Under Law, ed. by Kenneth Grasso and
Cecilia R. Castillo (Lanham, MD: University Press of America, 1997; 2nd ed. 1998).

"Multi-Party Politics in New York," in Multi-Party Politics and American Democracy,
ed. by Paul Herrnson and John Green (Rowman & Littlefield, 1997; revised for second
edition, 2002).

Author of “Cultures” and “Debates” boxes for Benjamin Ginsberg, Theodore Lowi, and
Margaret Weir, We the People (NY: W.W. Norton, 1997, 1999). 19 for 1st ed.; 17 for
2nd ed.

“Gun Control: Constitutional Mandate or Myth?” in Moral Controversies in American
Politics, ed. by Raymond Tatalovich and Byron Daynes (NY: M.E. Sharpe, 1998; 2005;
2010), 164-195. Revised for new editions.

“The Right to Life Party” and related entries in The Encyclopedia of American Third
Parties, ed. by Immanuel Ness and James Ciment (NY: M.E. Sharpe, 2000).

“New York, New York: Start Spreadin’ the News,” in Prayers in the Precincts, ed. by
John Green, Mark Rozell, and Clyde Wilcox (Washington, DC: Georgetown University
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Press, 2000).

“The Clinton Crisis and Its Consequences for the Presidency,” in The Clinton Scandal
and the Future of American Politics, ed. by Mark Rozell and Clyde Wilcox (Washington,
DC: Georgetown University Press, 2000), 1-17.

“Saving the Constitution from Lawyers,” in Politics and Constitutionalism, ed. by Spitzer
(Albany, NY: SUNY Press, 2000).

“Gun Control and Policy” and “Veto Power” for the Encyclopedia of American Political
History, ed. by Paul Finkelman (Washington, D.C.: Congressional Quarterly, 2000).

"Article I, Section 7," in The Constitution and Its Amendments, ed. by Roger Newman
(NY: Macmillan, 2001).

“Lost and Found: Researching the Second Amendment,” in The Second Amendment in
Law and History, ed. by Carl Bogus (NY: The New Press, 2001), 16-47.

“Veto Power” in The Oxford Companion To United States History ed. by Paul Boyer
(NY: Oxford University Press, 2001).

“The Independent Counsel and the Post-Clinton Presidency” in The Presidency and the
Law: The Clinton Legacy, ed. by David Adler and Michael Genovese (Lawrence, KS:
University Press of Kansas, 2002), 89-107.

“The Veto King: The ‘Dr. No’ Presidency of George Bush,” in Honor and Loyalty: Inside
the Politics of the Bush White House, ed. by Leslie Feldman and Rosanna Perotti
(Westport, CT: Greenwood Press, 2002), 233-53.

Fifty-two entries in the Encyclopedia of Guns in American Society, ed. by Gregg Lee
Carter (Santa Barbara, CA: ABC-CLIO, 2003; 2nd ed. 2011; 3rd ed. 2023): including
AWARE, assault weapons, Assault Weapons ban of 1994, automatic weapons laws,
background checks, Brady Law, Harlon Carter, Eddie Eagle, Federation for NRA,
Firearms Owners Protection Act of 1986, NRA-ILA, LSAS, Licensing, MMM, MAVIA,
National Board for the Promotion of Rifle Practice, National Guard, NRA, NRA PVF,
Presser v. Illinois, Quilici v. Morton Grove, Safety Courses, SAS, semiautomatic
weapons, speedloaders, Turner Diaries, Waiting Periods.

Nine entries for the Encyclopedia of the American Presidency, ed. by Michael Genovese
(NY: Facts on File, 2004): Edward Corwin, Council on Environmental Quality, Gramm-
Rudman-Hollings, Persian Gulf War, legislative veto, presentation clause, item veto,
pocket veto, veto.

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“Third Parties,” “Presidents,” and “The Right to Life Party” for The Encyclopedia of
New York State, ed. by Peter Eisenstadt (Syracuse: Syracuse University Press, 2004).

“Gun Rights for Terrorists? Gun Control and the Bush Presidency,” Transformed By
Crisis: The Presidency of George W. Bush and American Politics, ed. by Jon Kraus,
Kevin McMahon, and David Rankin (NY: Palgrave Macmillan, 2004), 141-165.

“The Presidential Veto Is An Effective Tool for Governing,” in Debating the Presidency,
Robert P. Watson and David Freeman, eds. (Dubuque, IA: Kendall/Hunt, 2005).

“Veto: The Power to Say ‘No,’” in Thinking About the Presidency, ed. by Gary L. Gregg
(Lanham, MD: Rowman & Littlefield, 2005).

“The ‘Protective Return’ Pocket Veto: Presidential Aggrandizement of Constitutional
Power,” Executing the Constitution, ed. By Chris Kelley (Albany: SUNY Press, 2006),
109-126.

“Gun Violence and Gun Control,” in Social Issues in America: An Encyclopedia, 8 vols.,
ed. By James Ciment (NY: M.E. Sharpe, 2006).

“The Commander-in-Chief Power and Constitutional Invention in the Bush
Administration,” The Presidency and the Challenge of Democracy, ed. By Michael
Genovese and Lori Cox Han (New York: Palgrave Macmillan, 2006), 93-117.

“Right to Bear Arms,” Encyclopedia of American Civil Liberties, 4 vols., ed. By Paul
Finkelman (NY: Routledge, 2006).

“Gun Violence is a Serious Problem,” Gun Violence: Opposing Viewpoints, Margaret
Haerens, ed. (New York: Thomson Gale, 2006).

“The Commander-in-Chief Power in the George W. Bush Administration,” Presidential
Power in America, ed. By Lawrence R. Velvel (Andover, MA: Doukathsan Press, 2007).

“Presidential Veto” and “Gun Control,” Encyclopedia of American Government and
Civics ed. Michael Genovese and Lori Cox Han (New York: Facts-on-File, 2008).

“Gerald R. Ford,” Encyclopedia of Political Communication ed. By Lynda Lee Kaid and
Christina Holtz-Bacha (Thousand Oaks, CA: Sage Pubs., 2008).

“Leading Elite Opinion: Law Reviews and the Distortion of Scholarship,” in Leadership
at the Crossroads, Vol 2, “Leadership and Politics,” ed. By Michael Genovese and Lori
Cox Han (Westport, CT: Praeger, 2008).

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“Texas and New York: A Tale of Two State Gun Laws,” New York Daily News, January
25, 2022.

“Despite Tragedy, College Campuses Remain Safe,” Virginia Daily Press/Virginian-
Pilot, February 8, 2022.

“Sandy Hook-Remington gun marketing settlement shows how to fight gun companies,”
NBC THINK, February 19, 2022.

“The Sandy Hook-Remington Settlement: Consequences for Gun Policy,” Regional Gun
Violence Research Consortium, Rockefeller Institute of Government, March 21, 2022.

“Study of US Government Requires Examination of Conflict,” Virginia Daily
Press/Virginian-Pilot, May 1, 2022.

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“How the NRA evolved from backing a 1934 ban on machine guns to blocking nearly all
firearm restrictions today,” The Conversation, May 25, 2022. 150

“The NRA wasn’t always opposed to gun restrictions,” Chicago Sun-Times, May 27,
2022.

“Originalism, History, and Religiosity are the Faults of Alito's Reasoning in Dobbs,”
History News Network, May 29, 2022.

“US tragedies from guns have often – but not always – spurred political responses,” The
Conversation, June 8, 2022.

“How the Supreme Court rewrote history to justify its flawed gun decision,” NBC
THINK, June 23, 2022.

“The Road Ahead for Gun Laws in New York State,” New York Daily News, June 28,
2022.

“Understanding the New Gun Policy Collision,” Regional Gun Violence Research
Consortium, Rockefeller Institute of Government, July 12, 2022.

“Guns at voting sites have long sparked fears of intimidation and violence – yet few
states ban their presence,” The Conversation, November 2, 2022.

“Guns at voting sites have long sparked fears of intimidation, violence,” Syracuse Post-
Standard, November 4, 2022.


Testimony, Briefs, and Reports:
"Report of a Survey of Contributors to the Democratic Telethon," A Report to the
Democratic National Committee, Washington, D.C., January 1974.

"Election Laws, Registration and Voting: Some Recommendations," Testimony
presented before the New York State Assembly Committee on Election Law, Albany,
N.Y., May 15, 1980.

"New York's Multi-Party System," a presentation given before members of the Mexican
and Canadian Parliaments at the Rockefeller Institute for Governmental Studies, Albany,
N.Y., October 29, 1982.

"Comments and Recommendations on `The New York State Assembly: The Need for
Improved Legislative Management,'" co-authored with Henry Steck, prepared for the
New York State Assembly Republican Study Group, September, 1985.
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"Registration, Voting, and the New York Election Law," Testimony presented before the
Governor's Task Force to Encourage Electoral Participation, World Trade Center, New
York City, December 21, 1987.

"The Pocket Veto and Sine Die Adjournments," Testimony presented to the Rules
Committee, Subcommittee on the Legislative Process, House of Representatives,
Washington D.C., July 26, 1989.

"Issues Pertaining to the Pocket Veto," Testimony presented to the Judiciary Committee,
Subcommittee on Economic and Commercial Law, House of Representatives,
Washington, D.C., May 9, 1990.

"The Stealth Veto: Does the President Already Possess Item Veto Powers?" Testimony
presented to the Judiciary Committee, Subcommittee on the Constitution, U.S. Senate,
Washington, D.C., June 15, 1994.

“The Hidden History of the Second Amendment,” The National Press Club, Washington,
D.C., May 12, 1998.

“The Second Amendment: A Source of Individual Rights?” Testimony presented to the
Judiciary Committee, Subcommittee on the Constitution, Federalism, and Property
Rights, U.S. Senate, Washington, D.C., September 23, 1998.

“The Gun Industry: The NRA’s Silent Partner,” National Press Briefing, Atlanta, GA,
February 2, 1999.

“Program Review: SUNY Oswego Political Science Department,” prepared as part of the
department’s review and assessment process, March 2001.

Meeting on Executive Order 13233, pertaining to presidential records access, hosted by
Alberto Gonzales, Office of Legal Counsel, the White House, Washington, D.C.,
December 7, 2001.

Article (“Lost and Found: Researching the Second Amendment,” Chicago-Kent Law
Review, 2000) cited as controlling authority by the U.S. Court of Appeals, Ninth Circuit,
in the case of Silveira v. Lockyer (312 F.3d 1052; 9th Cir. 2002); 2002 U.S. App. LEXIS
24612.

Coauthor, amicus curiae brief in the case of Nordyke v. King, U.S. Court of Appeals,
Ninth Circuit, 319 F.3d 1185 (2003).

White House meeting on changing standards regarding FOIA requests, access to
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Executive Branch documents, and presidential library design, hosted by White House
Counsel Alberto Gonzales and White House Staff Secretary Brett Kavanaugh,
Washington, D.C., July 17, 2003.

Invited participant and panelist, “National Research Collaborative Meeting on Firearms
Violence,” hosted by the Firearm and Injury Center at the University of Pennsylvania,
and the Joyce Foundation, Philadelphia, PA, June 15-17, 2005.

Program Review Report, SUNY Geneseo Political Science Department, March, 2009.

Coauthor with Louis Fisher, amicus curiae brief in the case of Republic of Iraq et al. v.
Beaty et. al., U.S. Supreme Court, filed March 25, 2009; case decided June 8, 2009 (556
U.S. 848; 2009).

Testimony on bills to enact early voting and other state voting reform measures before
the New York State Senate Standing Committee on Elections, Syracuse, NY, May 14,
2009.

Co-author, amicus brief in the cases of NRA v. City of Chicago and McDonald v.
Chicago, U.S. Supreme Court, argued March 2, 2010, decided June 28, 2010, 561 U.S.
742 (2010).

Consultant for plaintiffs in Conservative Party of New York and Working Families Party
v. NYS Board of Elections (10 Civ. 6923 (JSR)), 2010, U.S. District Court for the
Southern District of New York.

Co-author, amicus brief in the case of Ezell v. Chicago, U.S. Court of Appeals for the
Seventh Circuit, 651 F.3d 684 (2011).

Co-author, amicus brief in the case of People of the State of Illinois v. Aguilar, Illinois
Supreme Court, No. 08 CR 12069, 2012.

Invited panelist and contributor to conference and report, Institute of Medicine and the
National Research Council of the National Academies, “Committee on Priorities for a
Public Health Research Agenda to Reduce the threat of Firearm-Related Violence,”
National Academies Keck Center, 500 Fifth St., NW, Washington, DC, April 23, 2013.

“Perspectives on the ‘Stand Your Ground’ Movement,” Testimony submitted to the U.S.
Senate Committee on the Judiciary, Subcommittee on the Constitution, Civil Rights and
Human Rights, Hearing on “‘Stand Your Ground’ Laws: Civil Rights and Public Safety
Implications of the Expanded Use of Deadly Force,” Washington, D.C., October 29,
2013.

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       Testimony on the Hearing Protection Act to deregulate gun silencers submitted to the
       U.S. House of Representatives Committee on Natural Resources, Subcommittee on
       Federal Lands, for Hearings on the Sportsmen’s Heritage and Recreational Enhancement
       Act (SHARE Act), Washington, D.C., September 12, 2017.

       Expert testimony submitted for the State of Massachusetts, Office of Attorney General, in
       the case of Worman v. Baker, No. 1:17-cv-10107-WGY, United States District Court for
       the District of Massachusetts, submitted September 15, 2017, challenging Massachusetts
       state assault weapons restrictions. In 2019 the U.S. Court of Appeals for the First Circuit
       upheld the Massachusetts law (922 F.3d 26).

       Member, Regional Gun Violence Research Consortium Organizing Committee, a Task
       Force organized by NY Governor Andrew Cuomo and the State Department of Education
       to research and investigate the causes of gun violence in a multi-state effort. February
       2018.

       Program Review Report, SUNY New Paltz Political Science and International Relations
       Departments, April 2019.

       Consultant on Facebook policies and actions regarding gun issues, Quonundrums Market
       Research for Facebook, August 17, 2021.

       Several of my publications cited in the case ruling of Duncan v. Bonta, U.S. Court of
       Appeals for the Ninth Circuit, November 30, 2021.


Papers and Presentations (not including those given on the Cortland campus):

       "The President as Policy-Maker: The Arenas of Presidential Power from 1954 to 1974,"
       American Political Science Association, Washington, D.C., August 28-31, 1980.

       "The Right-to-Life Movement as a Third Party: The Policy Environment and Movement
       Politics," American Political Science Association, New York City, September 3-6, 1981.
       Reprinted by Rockefeller Institute for Governmental Studies Working Papers, Vol. I, No.
       4, September, 1982.

       "Viable Democracy or the French Fourth Republic: Multi-Party Politics in New York,"
       New York State Political Science Association, Albany, April 6, 1984.

       "The Right-to-Life Movement as Partisan Activity," American Political Science Associa-
       tion, Washington, D.C., August 30 - September 2, 1984.

       "Biting the Bullet: Gun Control and Social Regulation," American Political Science
                                             30




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Association, New Orleans, La., August 29 - September 1, 1985.

"The Presidential Veto," Northeastern Political Science Association, Boston, MA,
November 13-15, 1986.

"Perspectives on the Presidential Veto Power: Antecedents and Evolution," Bicentennial
Conference on the Presidency, co-sponsored by the Center for the Study of the
Presidency, the Chautauqua Institution and Gannon University, Erie, PA, April 24-26,
1987.

"The Transformation of a Kingly Power: The Presidential Veto, Past and Present,"
American Political Science Association, Chicago, IL, September 3-6, 1987.

"The Pocket Veto: Expanding Presidential Prerogatives Through the Back Door,"
American Political Science Association, Washington, D.C., September 1-4, 1988.

"Liberalism and Juridical Democracy; or What's Interesting About Interest Group
Liberalism," Western Political Science Association, Newport Beach, CA., March 22-24,
1990.

"Separation of Powers and the War Power," presentation sponsored by the Federalist
Society, Cornell University School of Law, April 20, 1990.

"Is the Separation of Powers Obsolete? An Inquiry into Critiques of the Congressional-
Presidential Balance of Power," American Political Science Association, Washington,
D.C., August 29-September 1, 1991.

"Hate Speech and the College Campus," conference on Two Hundred Years of Free
Expression, SUNY Oneonta, October 2-3, 1992.

"From Presidential Shield to `Go Ahead, Make My Day': The Presidential Veto and the
Constitutional Balance of Power," featured paper presenter for Fall 1992 Symposium on
American Constitutionalism, Southwest Texas State University, San Marcos, TX,
October 30, 1992.

"The Reagan Presidency and the Veto Power: Symbols and Actions of the `Make-My-
Day' President," Southern Political Science Association, Savannah, GA, November 3-6,
1993.

"Tenure, Speech, and the Jeffries Case: A Functional Analysis," conference on academic
Freedom and Tenure, sponsored by New York City Bar Association and Pace University
Law School, New York City, March 8, 1994.

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"`It's My Constitution, and I'll Cry If I Want To': Constitutional Dialogue, Interpretation,
and Whim in the Inherent Item Veto Dispute, " American Political Science Association,
Chicago, August 31-September 3, 1995. Winner, 1996 Presidency Research Group
Founders’ Award for Best Paper on the Presidency presented at the 1995 APSA. Paper
received mention in the Washington Post, September 24, 1995.

"Guns and Violence," presentation before Bryn Mawr Presbyterian Church Task Force on
Violence, Bryn Mawr, PA, October 8, 1995.

"Guns, Militias, and the Constitution," Distinguished Lecture Series, Utica College, Utica
NY, March 26, 1996.

"The Right to Bear Arms: A Constitutional and Criminological Analysis of Gun
Control," the Cornell University School of Law, October 8, 1996.

"The Veto King: The `Dr. No' Presidency of George Bush," Conference on the
Presidency of George Bush, Hofstra University, Hempstead, NY, April 17-19, 1997.

"Saving the Constitution from Lawyers," American Political Science Association,
Washington, D.C., August 28-31, 1997.

“Revolution, the Second Amendment, and Charlton Heston,” Gettysburg College,
Gettysburg, PA, October 30, 1997.

“Recent Developments in The Politics of Gun Control,” Gettysburg College, Gettysburg,
PA, November 10, 1998.

“The Second Amendment, Disarmament, and Arms Control,” Communitarian Summit,
the Washington National Airport Hilton, Arlington, VA, February 27-28, 1999.

“The Argument Against Clinton’s Impeachment,” Hyde Park Session, American Political
Science Association, Atlanta, September 2-5, 1999.

“Gun Politics After Littleton,” Gettysburg College, Gettysburg, PA, November 9, 1999.

“Lost and Found: Researching the Second Amendment,” Symposium on “The Second
Amendment: Fresh Looks,” Chicago-Kent Law School and the Joyce Foundation,
Chicago, April 28, 2000.

“The Independent Counsel and the Presidency After Clinton,” American Political Science
Association, Washington, D.C., August 31-September 3, 2000.

“From Columbine to Santee: Gun Control in the 21st Century,” Idaho State University,
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Pocatello, Idaho, April 19, 2001.

“Gun Control in the New Millennium,” Gettysburg College, Gettysburg, PA, November
13, 2001.

“Gun Rights for Terrorists? Gun Control and the Bush Presidency,” A Presidency
Transformed By Crises: The George W. Bush Presidency, SUNY Fredonia, NY, October
17-18, 2002.

“Gun Control and the Bush Presidency,” Gettysburg College, Gettysburg, PA, November
21, 2002.

“The Ashcroft Justice Department and the Second Amendment,” American Bar
Association Annual Meeting, San Francisco, August 8-11, 2003.

“The Bush Presidency and 9/11,” Keynote Address, Conference on 9/11, Cazenovia
College, NY, September 11, 2003.

“Report of the National Task Force on Presidential Communication to Congress,” co-
author, Tenth Annual Texas A&M Conference on Presidential Rhetoric, George Bush
Presidential Library and Conference Center, College Station, TX, March 4-7, 2004.

“Don’t Know Much About History, Politics, or Law: Comment,” Conference on The
Second Amendment and the Future of Gun Regulation, co-sponsored by the Fordham
School of Law, the Second Amendment Research Center, and the John Glenn Institute
for Public Service and Public Policy of the Ohio State University, April 13, 2004, New
York City.

“Bush vs. Kerry: Election of the Century?” Colgate University, Hamilton, NY, October
20, 2004.

“The Commander-in-Chief Power and Constitutional Invention in the Bush
Administration,” a paper presented at a Conference on “Is the Presidency Dangerous to
Democracy?”, Loyola Marymount University, Los Angeles, CA, February 7, 2005.

Participant, “The Wheler Family Address on International Relations,” Academic
Conference on World Affairs, Cazenovia College, Cazenovia, NY, September 9, 2005.

“What Ever Happened to Gun Control?”, Gettysburg College, Gettysburg, PA, November
1, 2005.

“Clinton and Gun Control: Boon or Bane?” a paper presented at the 11th Presidential
Conference on William Jefferson Clinton, Hofstra University, Hempstead, NY,
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November 10-12, 2005.

“George W. Bush and the Unitary Executive,” Keynote Address for “Quest,” SUNY
Oswego Scholars Day, April 19, 2006.

“Resolving Conflict with Intractable Foes: The Lessons of International Relations
Theory Applied to the Modern Gun Control Debate,” Bryant University, Smithfield, RI,
April 24, 2006.

“The Unitary Executive and the Commander-in-Chief Power,” Conference on
Presidential Power in America: The Constitution, the Defense of a Nation and the
National Ethos, Massachusetts School of Law Conference Series, Andover, MA, October
14-15, 2006.

“The 2006 Elections,” LeMoyne College, Syracuse, NY, November 29, 2006.

“In Wartime, Who Has the Power?” Symposium on Presidential Power and the Challenge
to Democracy, Idaho State University, Pocatello, ID, April 26, 2007.

“Saul Cornell’s Second Amendment: Why History Matters,” Conference on Firearms, the
Militia and Safe Cities: Merging History, Constitutional Law, and Public Policy, Albany
Law School, Albany, NY, October 18-19, 2007.

“Gun Control and the 2008 Elections,” Third Annual Harry F. Guggenheim Symposium
on Crime in America, John Jay College, New York City, December 3-4, 2007.

“The Post-Cold War Vice Presidency,” Cornell Adult University, Cornell University,
Ithaca, NY, July 31, 2008.

“Is the Presidency Constitutional?” Roundtable panel on Restoring the Constitutional
Presidency, APSA, Boston, August 28-31, 2008.

“The Future of the American Presidency,” Board of the Bristol Statehouse, Bristol, RI,
November 30, 2008.

“Is the Constitutional Presidency Obsolete? The Future of the American Presidency,”
Symposium on The Future of the American Presidency, Regent University, Virginia
Beach, VA, February 6, 2009.

“The Failure of the Pro-Gun Control Movement,” SUNY Oneonta, March 19, 2009.

“The Post-Bush Presidency and the Constitutional Order,” American Political Science
Association, Toronto, Canada, September 3-6, 2009.
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“Inventing Gun Rights: The Supreme Court, the Second Amendment, and Incorporation,”
SUNY Geneseo, March 24, 2010.

“Intelligence Don’t Matter,” Keynote Address to Phi Kappa Phi Induction Ceremony,
SUNY Cortland, April 17, 2010.

“The Law and Politics of Gun Control after Tucson,” 6th Annual Harry Frank
Guggenheim Symposium on Crime in America, conference on “Law and Disorder:
Facing the Legal and Economic Challenges to American Criminal Justice,” John Jay
College of Criminal Justice, CUNY, New York City, January 31-February 1, 2011.

“Looking Ahead to the 2012 Elections,” Tompkins County Democratic Committee,
Ithaca, NY, August 7, 2011.

“Growing Executive Power: The Strange Case of the ‘Protective Return’ Pocket Veto,”
American Political Science Association, Seattle, WA, September 1-4, 2011.

“Gun Control and the Second Amendment,” OASIS Conference, Syracuse, NY, October
3, 2011

“Comparing the Constitutional Presidencies of George W. Bush and Barack Obama: War
Powers, Signing Statements, Vetoes,” conference on “Change in the White House?
Comparing the Presidencies of George W. Bush and Barack Obama,” Hofstra University,
Hempstead, NY, April 19, 2012.

“Watergate After 40 Years: Dick Cheney’s Revenge,” American Political Science
Association, New Orleans, LA, August 30-September 2, 2012.

“The Media, American Elections, and Democracy,” OASIS, Syracuse, NY, October 22,
2012.

“Hot Button Issues in the 2012 Presidential Campaign,” Hiram College Conference on
the 2012 Elections, Hiram, Ohio, November 15-17, 2012.

“Gun Legislation and Obstacles to Effective Gun Control,” Metropolitan Black Bar
Association, New York City Bar Association, November 29, 2012.

“Guns and America,” Syracuse University, Syracuse, NY, February 19, 2013.

“The Constitution Between Opponents,” conference on “The State of the Presidency,”
Andrus Center for Public Policy, Boise State University, Boise, ID, February 28, 2013.

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“Gun Policy at a Crossroads,” Thursday Morning Roundtable, Syracuse, NY, March 7,
2013.

“Gun Policy Cycles and History,” Pediatric Grand Rounds at the Upstate Golisano
Children’s Hospital, Syracuse, NY, March 13, 2013.

“Gun Law and the Constitution,” Monroe County Bar Association, Rochester, NY,
March 21, 2013.

“The Architecture of the Gun Control Debate,” Goldfarb Center for Public Affairs, Colby
College, Waterville, ME, April 2, 2013.

“The Campbell Debates: This Assembly Supports the NY SAFE Act,” Syracuse
University, April 5, 2013.

“What has Sandy Hook Changed? The Evolving Gun Debate,” Reisman Lecture Series,
Cazenovia College, Cazenovia, NY, April 17, 2013.

“Gun Policy Change: Infringing Rights, or Following History?” Jefferson Community
College, Watertown, NY, April 18, 2013.

“Under the Gun,” Conference on “Gun Violence, Gun Laws, and the Media,” Center on
Media, Crime and Justice, John Jay College of Criminal Justice, New York, May 14-15,
2013.

“Five Myths of the Gun Debate,” Lawman of the Year, Cortland County Lawman
Committee, Cortland, NY, May 20, 2013.

“Gun Law History,” Sterling Historical Society, Sterling, NY, June 27, 2013.

“Analyzing the New York SAFE Act,” League of Women Voters Forum, Cortland, NY,
September 12, 2013.

“Constitution Day, the Second Amendment, and Guns,” OASIS, Syracuse, NY,
September 16, 2013.

“The Second Amendment and Guns in America,” Values, Arts, and Ideas Series
Constitution Day Speaker, Manchester University, North Manchester, Indiana, September
17, 2013.

“Live By History, Die By History: The Second Amendment, Heller, and Gun Policy,”
Georgetown University, Washington, DC, October 18, 2013.

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“American Gun Policy,” “Gun Violence: A Comparative Perspective,” and “American
History and Foreign Policy, 1960-1990,” King’s College, London, England; Southbank
Centre, “Superpower Weekend,” November 8-11, 2013.

“Gun Politics and the Electoral Process,” Oneida County Women’s Democratic Club and
County Committee, Utica, NY, November 17, 2013.

“The Second Amendment and the Hidden History of Gun Laws,” Institute for Legislative
Studies, University of North Carolina, Greensboro, NC, November 20-21, 2013.

“The Future of Gun Regulation After Newtown,” Fordham University, New York, NY,
January 21, 2014.

“The 2014 Elections: The End of the Obama Era?” 22nd Annual Chautauqua, Homer, NY,
August 3, 2014.

“New York State and the NY SAFE Act: A Case Study in Strict Gun Laws,” conference
on “A Loaded Debate: The Right to Keep and Bear Arms in the 21st Century,” Albany
Law School, Albany, NY, October 9, 2014.

“Is Gun Control Un-American or at Least Unconstitutional?” Temple Concord, Syracuse,
NY, October 14, 2014.

“The American Gun Debate is Under Water,” TEDxCortland Talk, Hathaway House,
Solon, NY, October 25, 2014.

“The Unitary Executive and the Bush Presidency,” Conference on the Presidency of
George W. Bush,” Hofstra University, Hempstead, NY, March 24-26, 2015.

“Assessing the Obama Presidency,” Western Political Science Association, Las Vegas,
NV, April 1-3, 2015.

“Gun Laws, Gun Policies, and the Second Amendment,” Central New York Council of
the Social Studies Professional Development Day Conference, Carnegie Conference
Center, Syracuse, NY, October 20, 2015.

“The 2016 Elections,” The Cornell Club of Cortland County, November 17, 2015,
Cortland, NY.

“Gun Law History in the U.S. and Second Amendment Rights,” Conference on The
Second Amendment: Legal and Policy Issues, New York University Law School and the
Brennan Center for Justice, New York City, April 8, 2016.

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“The Presidential Elections,” The Century Club, June 7, 2016, Syracuse, NY.

“The 2016 Elections,” Chautauqua, August 3, 2016, Homer, NY.

“The 2016 Elections” Cortland Rotary, Cortland, N.Y. September 20, 2016.

“The 2016 Elections,” Cortland Community Roundtable, October 6, 2016.

“TrumPocalypse 2016,” Finger Lakes Forum, Geneva, N.Y., October 16, 2016.

“The 2016 Elections,” Homer Congregational Church, Homer, N.Y., October 30, 2016.

“Had Enough? Only Five More Days,” OASIS, November 3, 2016, Syracuse, N.Y.

“Guns for Everyone?” OASIS, November 14, 2016, Syracuse, N.Y.

“Sizing Up the Trump Presidency,” Cortland County Democratic Party, June 1, 2017.

“Understanding Impeachment,” Ladies Literary Society, Lafayette, NY, June 7, 2017.

“Guns Across America,” Ithaca College, Ithaca, NY, September 21, 2017.

Guest panelist, “Gun Studies Symposium,” University of Arizona, Tucson, AZ, October
20, 2017.

“Gun Policy and Schools After Parkland,” SUNY Student Assembly Annual Conference,
Syracuse, NY, April 7, 2018.

“Gun Laws, History, and the Second Amendment: What Does the Constitution Allow?”
Clemson University, SC, April 17, 2018.

“Gun Violence and the History of Gun Laws,” League of Women Voters of Tompkins
County, Ithaca, NY, May 23, 2018.

“The Unknown History of Gun Laws in America,” Madison-Chenango Call to Action,
Hamilton, NY, June 20, 2018.

“It’s All Academic: The Meaning of the Second Amendment Versus Heller,” Conference
on “The Second Amendment: Its Meaning and Implications in Modern America,”
Lincoln Memorial University School of Law, Knoxville, TN, January 18, 2019.

“Mulling Over the Mueller Report,” Indivisible Cortland County, Homer, NY, June 15,
2019.
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“Gun Accessories and the Second Amendment: Assault Weapons, Magazines, and
Silencers,” Symposium on Gun Rights and Regulation Outside the Home, Duke
University, Durham, NC, September 27, 2019.

“Gun Policy 101: What Policymakers and the Public Need to Know,” Rockefeller
Institute of Government, Albany, NY, October 1, 2019.

Guest expert, Federalist Society Teleforum on New York State Rifle and Pistol
Association v. NYC, November 22, 2019.

“To Brandish or Not to Brandish: The Consequences of Gun Display,” Duke University
Law School Conference on Historical Gun Laws, June 19, 2020 (virtual).

“The 2020 Elections,” Cortland Country Club, October 14, 2020.

Panelist, “Gun Law, Politics, and Policy,” Midwest Political Science Association,
Chicago, April 14-17, 2021 (virtual).

“Gun Violence,” Beaches Watch, Florida, August 4, 2021 (virtual).

“Challenging Conversations: Gun Control,” Lockdown University (virtual), April 5,
2022.

“Scholars’ Circle: Gun Control,” June 30, 2022 (virtual).

“Gun Rules and Regulations,” Clubhouse AverPoint, July 2, 2022 (virtual).

“A Nation in Crisis: Are Guns the Problem?” Center for Ethics and Human Values’ Civil
Discourse Forum, The Ohio State University, Columbus, OH, September 23, 2022.

“Explaining the 2022 Midterm Elections,” OSHER Lifelong Learning Institute at the
College of William and Mary, Williamsburg, Va., October 13, 2022.

“The Gun Rights 2.0 Movement: Public Policy Consequences,” 2022 National Research
Conference on Firearm Injury Prevention, Omni Shoreham Hotel, Washington, D.C.,
November 29-December 1, 2022.

“The Obama Presidency and Gun Policy,” Paper Presented for Hofstra University’s 13th
Presidential Conference on The Barack Obama Presidency, Hempstead, NY, April 19-21,
2023.


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Panel Participation:

Discussant, "Historical Transformations of Political Institutions in the U.S.," Social
Science History Association, Rochester, N.Y., November 7-9, 1980.

Chair, "The Political Economy of Single Issue Movements," 1981 American Political
Science Association, New York City, September 3-6.

Discussant, "New York Republicans: An Emerging Majority Party?", New York State
Political Science Association, Albany, N.Y., April 2-3, 1982.

Round table panel member, "Perspectives on the Reagan Administration," New York
State Political Science Association, New York, N.Y., April 8-9, 1983.

Discussant, "Toward a Theory of the Chief Executive," 1983 American Political Science
Association, Chicago, Ill., September 1-4, 1983.

Chair and Discussant, "Political Parties and Party Organization," 1984 American Political
Science Association, Washington, D.C., August 30 - September 2, 1984.

Discussant, "Reforming the Presidential Selection Process,” New York State Political
Science Association, New York, N.Y., April 25-26, 1985.

Chair, "Theoretical Approaches to Policy Concerns," American Political Science
Association, New Orleans, La., August 29 - September 1, 1985.

Discussant, "Perspectives on Presidential Influence," American Political Science
Association, New Orleans, La., August 29 - September 1, 1985.

Discussant, "The Item Veto," American Political Science Association, New Orleans, La.,
August 29 - September 1, 1985.

Chair, "Mobilizing Interests on National Policies," American Political Science
Association, Washington, D.C., August 28-31, 1986.

Discussant, "The News Media and American Politics," American Political Science
Association, Washington, D.C., August 28-31, 1986.

Chair, "Perspectives on the Bicentennial of the U.S. Constitution," New York State
Political Science Association, New York City, April 3-4, 1987.

Discussant, "The Presidency in Comparative Perspective," and "Media and Models of
Public Policy-Making," American Political Science Association, Atlanta, Aug. 31 - Sept.
                                     40




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3, 1989.

Discussant, "Presidents and Economic Interests," American Political Science
Association, Washington, D.C., August 29 - September 1, 1991.

Panel Chair, "The Presidential Role in Policy Making," American Political Science
Association, Chicago, September 3-6, 1992.

Discussant, "Presidential Influence on Congress," American Political Science
Association, Washington, D.C., September 2-5, 1993.

Discussant, "Bureaucratic Politics," Southern Political Science Association, November 3-
6, 1993.

Discussant, "The President's Extra-Constitutional Power," American Political Science
Association, New York City, September 1-4, 1994.

Discussant, "Roundtable on the President and Congress in a Republican Age," Western
Political Science Association, San Francisco, March 14-16, 1996.

Chair, "Militias, the Second Amendment, and the State: Constitutional, Social, and
Historical Implications," American Political Science Association, San Francisco, August
29-September 1, 1996.

Chair, "Roundtable on Teaching the Presidency," American Political Science
Association, August 29-September 1, 1996.

Chair, "The Constitutionalism and Presidentialism of Louis Fisher," American Political
Science Association, Washington, D.C., August 28-31, 1997.

Chair, “The President as Legislative Leader,” American Political Science Association,
Boston, September 3-6, 1998.

Chair, Roundtable on “Memo to the President,” American Political Science Association,
Atlanta, September 2-5, 1999.

Discussant, “Firearms in the U.S.,” Midwest Political Science Association, Chicago,
April 27-30, 2000.

Chair and discussant, Roundtable on “Is the Presidency Changed?” APSA, San
Francisco, August 30-September 2, 2001.

Chair and discussant, “Presidential Use of Strategic Tools,” APSA, Boston, August 29 -
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Sept. 1, 2002.

Discussant, “Executing the Constitution,” APSA, Boston, August 29 - Sept. 1, 2002.

Chair, “Marketing the President,” APSA, Philadelphia, August 28-31, 2003.

Discussant, “Media Coverage of the Presidency,” APSA, Philadelphia, August 28-31,
2003.

Chair and discussant, “Does Presidential Leadership in Foreign Policy Matter?” APSA,
Chicago, September 2-5, 2004.

Roundtable member, “The Ins and Outs of Obtaining a Book Contract,” APSA, Chicago,
September 2-5, 2004.

Discussant, “Presidential Power: Lessons From the Past,” APSA, Washington, D.C.,
September 1-4, 2005.

Chair and Discussant, “The Unitary Executive in a Separated System,” APSA,
Philadelphia, August 31-September 3, 2006.

Panel chair, “The Culpability of Congress,” Conference on Presidential Power in
America: The Constitution, the Defense of a Nation and the National Ethos,
Massachusetts School of Law Conference Series, Andover, MA, October 14-15, 2006.

Panel chair, “Keeping the Modern Presidency in Check and Balance,” APSA, Chicago,
August 30-September 2, 2007.

Discussant, “Presidential Endings: George W. Bush and the Final Two Years,” APSA,
Chicago, August 30-September 2, 2007.

Discussant, “Staffing and Decisionmaking in the White House,” APSA, Boston, August
28-31, 2008.

Panel Chair, “Early Assessments of the Obama Presidency,” APSA, Washington, D.C.,
September 2-5, 2010.

Discussant, “Historical Perspectives on the Presidency,” APSA, Chicago, August 29-
Sept. 1, 2013.

Discussant, “Politics and Presidential Travel,” APSA, Washington, D.C., August 27-31,
2014.

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      Discussant, “The Obama Presidency and Constitutional Law,” APSA, San Francisco,
      Sept. 3-6, 2015.

      Discussant, “Presidents, the Courts and the Law,” APSA, Philadelphia, Sept. 1-4, 2016.

      Discussant, “Executive Power and Democratic Functioning in the Trump Era,” APSA,
      Boston, MA, August 30-September 2, 2018.

      Panel chair, “Assessing the Presidency of Donald Trump,” APSA, Washington, DC,
      August 29-September 1, 2019.

      Roundtable, “Gun Law, Politics, and Policy,” Midwest Political Science Association,
      April 17, 2021 (virtual).

      Roundtable, “Guns and the Political Moment: Political Violence, Self-Defense, and
      Reckoning with Race,” Midwest Political Science Association, Chicago, April 7, 2022.


Book Reviews:

      The American Presidency, by Richard M. Pious, reviewed in The Journal of Politics,
      November, 1979.

      The Politics of Mistrust, by Aaron Wildavsky and Ellen Tenenbaum, reviewed in
      Administrative Science Quarterly, December, 1981.

      Review essay, The President as Policymaker, by Laurence E. Lynn and David DeF.
      Whitman, review essay in Administrative Science Quarterly, March, 1982.

      PL94-142: An Act of Congress, by Erwin L. Levine and Elizabeth M. Wexler, reviewed
      in the American Political Science Review, June, 1982.

      Pure Politics and Impure Science, by Arthur M. Silverstein, reviewed in Administrative
      Science Quarterly, June, 1984.

      Review essay, The President's Agenda, by Paul Light, reviewed in Administrative
      Science Quarterly, September, 1984.

      The Evolution of American Electoral Systems, by Paul Kleppner, et al., reviewed in the
      American Political Science Review, December, 1983.

      A Case of Third Party Activism, by James Canfield, reviewed in Perspective, July-
      August, 1984.
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Winners and Losers: Campaigns, Candidates and Congressional Elections, by Stuart
Rothenberg, reviewed in the American Political Science Review, December, 1984.

The Political Presidency, by Barbara Kellerman, reviewed in Perspective, January-
February, 1985.

Presidents and Promises, by Jeff Fishel, reviewed in the American Political Science
Review, December, 1985.

The Elections of 1984, ed. by Michael Nelson, reviewed in Perspective, May/June, 1985.

Economic Conditions and Electoral Outcomes, by Heinz Eulau and Michael S. Lewis-
Beck, reviewed in Perspective, May/June, 1986.

Presidential Transitions: Eisenhower Through Reagan, by Carl M. Brauer, in
Perspective, January/February, 1987.

Religion and Politics in the United States, by Kenneth D. Wald, in Journal for the
Scientific Study of Religion, September, 1988.

Abortion and Divorce in Western Law, by Mary Ann Glendon, in The Annals of the
American Academy of Political and Social Science, September, 1988.

The American Political Economy, by Douglas Hibbs, in Perspective, Spring, 1988.

God in the White House, by Richard G. Hutcheson, Jr., in Perspective, Fall, 1988.

The Reagan Legacy, Charles O. Jones, ed., in Social Science Quarterly, June, 1989.

Dilemmas of Presidential Leadership From Washington Through Lincoln by Richard
Ellis and Aaron Wildavsky, in Perspective, September, 1989.

Taming the Prince by Harvey Mansfield, Jr., in Governance, April, 1990.

Public Policy and Transit System Management, ed. by George M. Guess, in Perspective,
Spring, 1991.

The Myth of Scientific Public Policy, by Robert Formaini, in Perspective, Winter, 1992.

The Bush Presidency: First Appraisals, ed. by Colin Campbell and Bert Rockman in
Public Administration Review, May/June, 1992.

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The Illusion of a Conservative Reagan Revolution, by Larry Schwab, in Policy Currents,
May, 1992.

The Vital South: How Presidents Are Elected, by Earl Black and Merle Black, in
Perspective, Fall, 1993.

The Presidential Pulse of Congressional Elections, by James E. Campbell, in The Journal
of American History, March, 1995.

Out of Order, by Thomas Patterson, in Presidential Studies Quarterly, Summer, 1994.

Congress, the President, and Policymaking, by Jean Schroedel, in the American Political
Science Review, December, 1994.

The President and the Parties, by Sidney Milkis, in Governance, January 1995.

The Myth of the Modern Presidency, by David K. Nichols, PRG Report, Spring, 1995.

The End of the Republican Era, by Theodore Lowi, The Journal of American History,
December, 1995.

Strategic Disagreement: Stalemate in American Politics by John B. Gilmour, in
Governance (9), 1996.

Rivals For Power: Presidential-Congressional Relations, by James Thurber, in American
Political Science Review, March, 1997.

American Presidential Elections, ed. by Harvey Schantz, in Perspectives, Spring 1997.

The Power of Separation by Jessica Korn, in Congress & the Presidency, Spring 1997.

Strong Presidents by Philip Abbott, in Perspective, Fall 1997.

Other People’s Money: Policy Change, Congress, and Bank Regulation, by Jeffrey
Worsham, in Perspectives, Spring 1998.

A Third Choice, in Journal of American History, December 1998.

Politics, Power and Policy Making: The Case of Health Care Reform in the 1990s, by
Mark Rushefsky and Kant Patel in Perspectives, Winter 1999.

The Paradoxes of the American Presidency, by Thomas Cronin and Michael Genovese,
for the American Political Science Review, March 1999.
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Republic of Denial, by Michael Janeway, for Perspectives, Spring 2000.

The Art of Political Warfare, by John Pitney, Rhetoric and Public Affairs, Summer 2001.

Arming America, by Michael Bellesiles, Congress Monthly, January/February 2002.

Gun Violence in America by Alexander DeConde, Law and Politics Book Review,
August 2001; also in Historynewsnetwork.org, 8/01.

Presidents as Candidates, by Kathryn D. Tenpas, in Rhetoric and Public Affairs, Spring
2002.

The Trouble With Government, by Derek Bok, Perspectives, Spring 2002.

King of the Mountain, by Arnold M. Ludwig, Rhetoric and Public Affairs, Winter 2002.

Power, the Presidency, and the Preamble, by Robert M. Saunders, Presidential Studies
Quarterly, December 2002.

Presidents, Parliaments, and Policy, ed. by Stephen Haggard and Mathew McCubbins,
Perspectives, Winter 2003.

The Modern American Presidency, by Lewis L. Gould, Rhetoric and Public Affairs.

Watergate: The Presidential Scandal that Shook America, by Keith W. Olson,
Perspectives, Summer 2003.

The Militia and the Right to Arms, or, How the Second Amendment Fell Silent, by H.
Richard Uviller and William G. Merkel, Journal of American History, March 2004.

Power Without Persuasion: The Politics of Direct Presidential Action, by William G.
Howell, Perspectives on Politics, June 2004.

The George W. Bush Presidency: An Early Assessment, ed. By Fred Greenstein,
Perspectives, Spring 2004.

The Invention of the United States Senate, by Daniel Wirls and Stephen Wirls,
Perspectives, Summer 2004.

The Mythic Meanings of the Second Amendment, by David C. Williams, Law and
Politics Book Review, April 2004.

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Empowering the White House, by Karen M. Hult and Charles E. Walcott, Rhetoric and
Public Affairs, Fall 2005.

Defining Americans: The Presidency and National Identity, by Mary E. Stuckey,
Perspectives, Spring 2005.

Presidential Leadership: Rating the Best and Worst in the White House, ed. By James
Taranto and Leonard Leo, Rhetoric and Public Affairs, Summer 2006.

A Well-Regulated Militia: The Founding Fathers and the Origins of Gun Control in
America, by Saul Cornell, American Journal of Legal History, October 2006.

The Founders’ Second Amendment: Origins of the Right to Bear Arms, by Stephen
Halbrook, Law and Politics Book Review 18(October 2008).

Out of the Shadow: George H.W. Bush and the End of the Cold War, by Christopher
Maynard, Journal of American History (September 2009).

Guns, Democracy, and the Insurrectionist Idea, by Joshua Horwitz, Law and Politics
Book Review 19(June 2009).

Talking Together, by Lawrence Jacobs, Fay Lomax Cook, and Michael Delli Carpini,
dailykos.com, posted June 20, 2009, with Glenn Altschuler.

Accidental Presidents, by Philip Abbott, Presidential Studies Quarterly, June 2010.

The Co-Presidency of Bush and Cheney, by Shirley Anne Warshaw, Congress and the
Presidency, 2010.

Crisis and Command: The History of Executive Power from George Washington to
George W. Bush, by John Yoo, Presidential Studies Quarterly (December 2010).

Declaring War: Congress, the President, and What the Constitution Does Not Say, by
Brien Hallett, Law and Politics Book Review 22(November 2012).

Congress vs. the Bureaucracy: Muzzling Agency Public Relations, by Mordecai Lee, The
Journal of American History (December 2012).

Arming and Disarming, by R. Blake Brown, Law and History Review (November 2013).

Reclaiming Accountability: Transparency, Executive Power, and the U.S. Constitution,
by Heidi Kitrosser, Congress and the Presidency 42(2015).

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      The Six-Shooter State: Public and Private Violence in American Politics by Jonathan
      Obert and The Lives of Guns ed. by Jonathan Obert, Andrew Poe and Austin Sarat,
      Perspectives on Politics 17(September 2019).

      The Toughest Gun Law in the Nation by James B. Jacobs and Zoe Fuhr, Criminal Law
      and Criminal Justice Books, March 2020.

      Warped Narratives: Distortion in the Framing of Gun Policy by Melissa K. Merry,
      Perspectives on Politics 18(September 2020).

      The Uses and Misuses of Politics: Karl Rove and the Bush Presidency by William G.
      Mayer, Presidential Studies Quarterly (December 2022).


Selected Media Appearances/Quotations:

      NBC’s “Today Show”; ABC’s “Good Morning America” and “Network Nightly News”;
      PBS’s “News Hour”; CNN’s “Lou Dobbs,” “NewsStand,” “CNN & Co.” CNN’s HLN,
      and “Insight”; CNBC’s “Upfront Tonight”; MSNBC’s “Countdown with Keith
      Olbermann,” “All In With Chris Hayes,” “Ali Velshi,” “Fresh Air With Terry Gross,”
      “The Diane Rehm Show,” 1A with Joshua Johnson, NPR; NHK Television (Japan);
      CGTN (China), documentary films “Guns and Mothers” (PBS, 2003), “Under the Gun”
      (Katie Couric Film Company, Epix, 2016), “The Price of Freedom” (Flatbush
      Pictures/Tribeca Films, 2021). Quoted in or by the New York Times, the Washington
      Post, Time Magazine, Newsweek, Der Spiegel (Germany), USA Today, the Los Angeles
      Times, the Wall Street Journal, the Christian Science Monitor, the Boston Globe, the
      Chicago Tribune, the Philadelphia Inquirer, the Miami Herald, Houston Chronicle, the St.
      Louis Post-Dispatch, San Francisco Chronicle, the Dallas Morning News, the Baltimore
      Sun, the Detroit Free Press, the Seattle Post-Intelligencer, Newsday, the Denver Post,
      Kansas City Star, Dallas News, Pittsburgh Post-Gazette, New Orleans Times Picayune,
      Orlando Sentinel, Columbus Dispatch, Buffalo News, San Jose Mercury News, Albany
      Times-Union, St. Petersburg Times, Arkansas Democrat-Gazette, Newark Star-Ledger,
      Bergen Record, Congress Daily, The Hill, CQ Report, Rolling Stone, The Nation, Ladies
      Home Journal, the National Journal, The Spectator, Legal Times, Financial Times,
      Toronto Globe, al Jazeera, Reuters, Bloomberg News, Knight Ridder, AP, Gannett,
      Newhouse, Scripps Howard, McClatchy, Hearst, the BBC (Britain), CBC (Canada), the
      Voice of America, Radio Free Europe, ABC News Online, Fox News Online, National
      Public Radio, CBS Radio, media outlets in South Korea, India, Brazil, Denmark, Spain,
      France, Norway, Germany.

      Regular panelist on “The Ivory Tower,” a weekly public affairs program broadcast on
      WCNY-TV, Syracuse, NY, from 2002-2021. A half hour discussion of the week’s events
      conducted by five academics from area colleges.
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Professional Associations:

       Scholars Strategy Network.
       American Political Science Association.
       Center for the Study of the Presidency.
       Presidents and Executive Politics Section (formerly the Presidency Research Group),
              APSA; served on Governing Board of PRG, 1991 to 2003.
       New York Political Science Association.
       Pi Sigma Alpha.
       Phi Kappa Phi.


Teaching Areas:

       American Government: courses taught include Law and Politics, Introduction to
             American Government, The Legislative Process, Political Parties and Social
             Movements, The American Presidency, Media and Politics, Gun Control Politics
             and Policy, State and Local Government, Abortion Politics, Elections and
             American Politics, Media and War, internships in Washington, D.C., Albany, and
             Cortland County, Seminars on the Decline of Parties and Third Parties, American
             Institutions, Current Developments in American Politics, and Introduction to
             College Life.

              Public Policy: courses taught include Politics and Policy, Introduction to Public
              Policy, Gun Policy. Areas of interest include policy theory, policy formation and
              decisionmaking, and policy implementation.


Teaching-Related Awards:

       Three-time recipient of the SUNY Cortland Student Government Association
       Outstanding Faculty Award (the "DiGiusto Award"), 1987, 1991, and 2003, for
       "Outstanding Service to Students." (The only faculty member ever to win this award
       more than once.)


Other Professional Activities

External Reviewer, University of Michigan-Dearborn, Project to Expand Promotion and Tenure
Guidelines (PTIE) to Inclusively Recognize Innovation and Entrepreneurial Impact, 2021.

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Member, Howard Penniman Graduate Scholarship Selection Committee, Pi Sigma Alpha, 2018.

Member, Advisory Board of Pi Sigma Alpha Undergraduate Journal of Politics, 2014-2016.

Executive Council, Pi Sigma Alpha National Board, 2014-18.

Fund and organizing leader for American Political Science Association’s new Distinguished
Teaching Award, 2011-12.

Chair, Presidency Research Group Task Force on Membership and Recruitment, 2007-08.

Chair, Richard E. Neustadt Award Committee for Best Book on the Presidency published in
       2005, Presidency Research Group, 2006.

President, Presidency Research Group, American Political Science Association, 2001-2003;
       Vice-President 1999-2001.

Chair, Best Paper Award Committee, Presidency Research Group, American Political Science
       Association, for 1991 and 1992 conferences.

Member, Governing Board of the Presidency Research Group of the American Political Science
     Association, 1991-2003.

Editor, PRG Report, 1993-1997.

Board of Editors, State University of New York Press, 1993-1996; 1997-2000. Board Chair,
       1998-2000.

Member, Leonard D. White Award Committee for Best Dissertation in Public Administration,
     American Political Science Association, 1995.

Conference Organizing Committee, "Presidential Power: Forging the Presidency for the 21st
       Century," Columbia University, November 15-16, 1996.

Chair, E.E. Schattschneider Award Committee, best doctoral dissertation in American Politics,
       American Political Science Association, 1997.

Secretary/Treasurer, Presidency Research Group, 1997-99.

Book and article reviews for Houghton Mifflin, Cengage Learning, Random House, McGraw-
Hill, St. Martins, W.W. Norton, Oxford University Press, Cambridge University Press,
University of Chicago Press, University of California Press, Princeton University Press, Cornell
University Press, UNC Press, Pearson Longman, Allyn & Bacon, Palgrave/Macmillan,
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University of New Mexico Press, Texas A&M University Press, Chatham House, CQ Press,
HarperCollins, SUNY Press, Thompson Wadsworth, University of Michigan Press, University of
Missouri Press, Westview Press, Brooking Institution, Rowman and Littlefield, Routledge,
University of Alabama Press, American Political Science Review, PS, Comparative Politics,
American Journal of Political Science, Policy Studies Journal, Policy Studies Review, Political
Science Quarterly, the Journal of Politics, Western Political Quarterly, Polity, Social Science
Quarterly, Political Behavior, American Politics Quarterly, Political Communication, Legislative
Studies Quarterly, Government and Policy, Congress and the Presidency, Social Science Journal,
Journal of Policy History, Political Research Quarterly, Presidential Studies Quarterly, Politics
and Policy, and the National Science Foundation.


Selected Community Service

Administrative Law Judge/Hearing Officer for Cortland County Board of Health, 1994-present;
for Tompkins County, 1997-present; for Chenango County, 1997-present; for Madison County,
2006-2021.

Member, City of Cortland Planning Commission, 2009-2012.

Chair, SUNY Press Board of Editors, 1998-2000 (board member 1993-96, 1997-2000).

Board President, Cortland County Arts Council, 1989-1990 (board member, 1987-1990).

Chair, Homer Zoning Board of Appeals, 1995-1997; board member 1988-1997.

Board member, Cortland County Landmark Society, 1989-1995.

Chair, Planning Committee on Codes and Safety for the village of Homer's (N.Y.) Odyssey 2010
Project, 1996.




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